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March 22, 2018

By Mail:

The Honorable J esse M. Furman

United States District Judge

Southern District ofNew York

Thurgood l\/Iarshall United States Courthouse
New York, NY 10007

Re: Robert Zimmerman v. UBS Ag, et al, No, 17-CV-4503-JMF
Dear Judge Furman:

This let.':r is a request for permission to submit four additional exhibits to the
Court as evidence in support of Plaintist claims and requests for declaratory and
injunctive relief.

The first exhibit is evidence that UBS intends to issue and underwrite a new series
of billions of dollars of unsecured notes similar in kind to its previous ETNs, but
not called an ETN. The series of notes will be sold to the public with a product
supplement and shelf registration statement similar to CEFL and without any
disclosure of UBS’s criminal history.

The second exhibit describes newly discovered UBS financial crimes.
The third exhibit is the DOJ’s Appendix A to its prosecution of UBS for LlBOR
manipulation and contains detailed evidence of how UBS traders conducted this

manipulation with the knowledge of their superiors

The fourth exhibit describes a prospective ban by Hong Kong authorities on
UBS’s issuance of initial public offerings.

Each of these exhibits were newly discovered by Plaintiff.

l\/Iost respectfully submitted by First Class Mail on l\/larch 22, 2018.

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